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                                                                                    FILED
                                                                            U.S. DiSTRlCT COURT
                                                                               AUGUSTA DiV.
                     IN THE UNITED STATES DISTRICT COURT
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                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                                                          CLERK._
                                  AUGUSTA DIVISION                             SO

JEREMIAH LANE,

             Petitioner,

      V.                                                CV 118-076
                                                        (Formerly CR 106-028)
UNITED STATES OF AMERICA,

             Respondent.


                                        ORDER



       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed. (Doc. no. 7.)

Accordingly, the Court ADOPTS the Report and Recommendation of the Magistrate Judge
as its opinion, DENIES Petitioner's motion for appointment of counsel, (doc. no. 2),

DENIES as MOOT Petitioner's motions for an evidentiary hearing,(doc. no. 3; doc. no. 7,

pp. 12-15), and DISMISSES Petitioner's motion filed pursuant to 28 U.S.C. § 2255.

       Further, a federal prisoner must obtain a certificate of appealability ("COA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of
appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing ofthe denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the

standards enunciated in Slack v. McDaniel, 529 U.S. 473, 482-84 (2000), Petitioner has
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failed to make the requisite showing. Accordingly, the Court DENIES a COA in this case.*
Moreover, because there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Accordingly, Petitioner is not entitled to appeal in forma pauperis.

^28 U.S.C.§ 1915(a)(3).

       Upon the foregoing, the Co^pKTEOSfeS this civil action.
       SO ORDERED thisjSA day of June, 2018, at Augusta, Georgia.


                                                   UNITED STATES DISTRICT JUD




       '"If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11(a)
to the Rules Governing Section 2255 Proceedings.
                                              2
